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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CLAUDE N. LEWIS,

                    Plaintiff,

         v.                                                 Index No. 14-cv-02302 (CRK)
                                                            ECF Case
 AMERICAN SUGAR REFINING, INC. and
 MEHANDRA RAMPHAL,

                    Defendants.


                                     JURY INSTRUCTIONS

 I.    GENERAL INTRODUCTORY INSTRUCTIONS

Introductory Remarks

        Members of the jury, you have now heard all of the evidence in the case as well as the final
arguments of the parties. We have reached the point where you are about to undertake your final
function as jurors. You have paid careful attention to the evidence, and I am confident that you
will act together with fairness and impartiality to reach a just verdict in the case. I now am going
to instruct you on the law. Please pay close attention and I will be as clear as possible.

Role of the Court

         My duty at this point is to instruct you as to the law. It is your duty to accept these
instructions of law and apply them to the facts as you determine them. You must take the law as I
give it to you. If any attorney has stated a legal principle different from any that I state to you in
my instructions, it is my instructions that you must follow. You should consider my instructions
as a whole when you retire to deliberate in the jury room.

        You should not, any of you, be concerned about the wisdom of any rule that I state.
Regardless of any opinion that you may have as to what the law may be – or ought to be – it would
violate your sworn duty to base a verdict upon any other view of the law than that which I give
you.

Role of the Jury

       As members of the jury, you are the sole and exclusive judges of the facts. You review
and pass judgment on the evidence. You determine the credibility of the witnesses. You resolve
such conflicts as there may be in the testimony. You draw whatever reasonable inferences you
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decide to draw from the facts as you have determined them, and you determine the weight of the
evidence. It is your sworn duty, and you have taken the oath as jurors, to determine the facts and
to follow the law as I give it to you.

       In determining the facts, no one may invade your province or functions as jurors – in other
words, no one can do your job for you – you decide. In order for you to determine the facts, you
must rely upon your own recollection of the evidence.

       Since you are the sole and exclusive judges of the facts, I do not mean to indicate any
opinion as to the facts or what your verdict should be. The rulings I have made during the trial are
not any indication of my views of what your decision should be as to whether or not either party
has proven its case.

        I also ask you to draw no inference from the fact that upon occasion I asked questions of
certain witnesses. These questions were only intended for clarification or to expedite matters and
certainly were not intended to suggest any opinions on my part as to the verdict you should render,
or whether any of the witnesses may have been more credible than any other witnesses. You are
expressly to understand that I have no opinion as to the verdict you should render in this case.

       So as to the facts, ladies and gentlemen, you are the exclusive judges. You are to perform
the duty of finding the facts without bias or prejudice to any party.

Improper Considerations

         Your verdict must be based solely upon the evidence or the lack of evidence, developed at
this trial and the instructions I give you on the law. It would be improper for you to consider any
personal feelings you may have about person’s race, sex, ethnicity, national origin, or disability.

Sympathy

       Under your oath as jurors you are not to be swayed by sympathy. You should be guided
solely by the evidence presented during the trial, without regard to the consequences of your
decision. You have been chosen to try the issues of fact and reach a verdict on the basis of the
evidence or lack of evidence. If you let sympathy interfere with your clear thinking, there is a risk
that you will not arrive at a just verdict. All parties to a civil lawsuit are entitled to a fair trial.
You must make a fair and impartial decision so that you will arrive at a just verdict.

Burden of Proof—General Instructions

        This is a civil case and, as such, the Plaintiff has the burden of proving the material
allegations of his complaint by a preponderance of the evidence. If, after considering all of the
testimony, you are satisfied that Plaintiff has carried his burden on each essential point as to which
he has the burden of proof, then you must find for Plaintiff on his claims. If, after such
consideration, you find the testimony of both parties to be in balance or equally probable, then
Plaintiff has failed to sustain his burden and you must find for Defendants.
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Preponderance of the Evidence

       The party with the burden of proof on any given issue has the burden of proving every
disputed element of his claim to you by a preponderance of the evidence. If you conclude that the
party bearing the burden of proof has failed to establish his claim by a preponderance of the
evidence, you must decide against him on the issue you are considering.

        What does a “preponderance of the evidence” mean? To establish a fact by a preponderance
of the evidence means to prove that the fact is more likely true than not true. A preponderance of
the evidence means the greater weight of the evidence. It refers to the quality and persuasiveness
of the evidence, not to the number of witnesses or documents. In determining whether a claim has
been proved by a preponderance of the evidence, you may consider the relevant testimony of all
witnesses, regardless of who may have called them, and all the relevant exhibits received in
evidence, regardless of who may have produced them.

         If you find that the credible evidence on a given issue is evenly divided between the parties
– that it is equally probable that one side is right as it is that the other side is right – then you must
decide that issue against the party having this burden of proof. That is because the party bearing
this burden of proof must prove more than simple equality of evidence – he must prove the element
at issue by a preponderance of the evidence. On the other hand, the party with this burden of proof
does not need to prove anything more than a preponderance. So long as you find that the scales
tip, however slightly, in favor of the party with this burden of proof – that what the party claims is
more likely true than not true – then that element will have been proved by a preponderance of
evidence.

       Some of you may have heard of proof beyond a reasonable doubt, which is the proper
standard of proof in a criminal trial. That requirement does not apply to a civil case such as this
and you should put that standard out of your mind.

What Is and Is Not Evidence

        The evidence from which you are to decide what the facts are consists of:

        1. The sworn testimony of witnesses, on both direct and cross-examination, regardless of
           who called the witness;

        2. The documents and exhibits which may have been received into evidence; and

        3. Stipulations of fact or testimony. A “stipulation” is an agreement between both sides
           that certain facts are true. When the lawyers on both sides stipulate or agree to the
           existence of a fact, you must, unless otherwise instructed, accept the stipulation as
           evidence, and regard that fact as proved.

       Nothing else is evidence; not what the lawyers say, not what I say, not anything you may
have heard outside the courtroom. The lawyers' opening statements and their summations are
intended to help you understand the evidence; their statements are not evidence. If your
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recollection of facts differs from the lawyers' statements, it is your recollection that controls. Any
statements that I may have made during the trial do not constitute evidence.

Direct and Circumstantial Evidence

       There are two types of evidence which you may properly use in reaching your verdict.

       One type of evidence is direct evidence. Direct evidence is when a witness testifies about
something he or she knows by virtue of their own senses—something they have seen, felt, touched,
or heard. Direct evidence may also be in the form of an exhibit.

         The other type of evidence is circumstantial evidence. Circumstantial evidence is evidence
which tends to prove a disputed fact by proof of other facts. There is a simple example of
circumstantial evidence which is often used. Assume that when you came into the courthouse this
morning the sun was shining and it was a nice day. As you were sitting here, someone walked in
with an umbrella which was dripping wet. Then a few minutes later another person also entered
with a wet umbrella. Now, you cannot look outside of the courtroom and you cannot see whether
or not it is raining. So you have no direct evidence of the current weather. But on the combination
of facts which I have asked you to assume, it would be reasonable and logical for you to conclude
that it had been raining. That is all there is to circumstantial evidence. You infer on the basis of
reason and experience and common sense from one established fact the existence or non-existence
of some other fact. Circumstantial evidence is of no less value than direct evidence; it is a general
rule that the law makes no distinction between direct evidence and circumstantial evidence but
simply requires that your verdict must be based on a preponderance of all the evidence presented.

Witness Credibility

       You have had the opportunity to observe all the witnesses. It is now your job to decide how
believable each witness was in his or her testimony. You are the sole judges of the credibility of
each witness and of the importance of his or her testimony.

       In making this judgment, you should carefully scrutinize all of the testimony of each
witness, the circumstances under which each witness testified, and any other matter in evidence
which may help you decide the truth and the importance of each witness’ testimony.

        How do you determine where the truth lies? You watched the witness testify. Everything a
witness said or did on the witness stand counts in your determination. You should use all the tests
for truthfulness that you would use in determining matters of importance to you in your everyday
life. You should consider the opportunity the witness had to see, hear, and know the things about
which they testified, the accuracy of their memory, their candor or lack of candor, the
reasonableness and probability of their testimony and its consistency or lack of consistency and its
corroboration or lack of corroboration with other credible testimony. Always remember that you
should use your common sense, your good judgment and your own life experience to make your
credibility determinations.
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Bias of Witness

        In deciding whether to believe a witness, you should specifically note any evidence of
hostility or affection which the witness may have towards one of the parties. Likewise, you should
consider evidence of any other interest or motive that the witness may have in cooperating with a
particular party. It is your duty to consider whether the witness has permitted any such bias or
interest to influence his or her testimony. In short, if you find that a witness is biased, you should
view his or her testimony with caution, weigh it with care and subject it to close and searching
scrutiny.

Interest in Outcome

         In evaluating the credibility of the witnesses, you should take into account any evidence
that a witness may benefit in some way from the outcome of the case. Such interest in the outcome
may sway a witness to testify in a way that advances his or her own interests. Therefore, if you
find that any witness whose testimony you are considering may have an interest in the outcome of
this trial, then you should bear that factor in mind when evaluating the credibility of his or her
testimony, and accept it with great care.

        Keep in mind, though, that it does not automatically follow that testimony given by an
interested witness is to be disbelieved. There are many people who, no matter what their interest
in the outcome of the case may be, would not testify falsely. It is for you to decide, based on your
own perceptions and common sense, to what extent, if at all, the witness' interest has affected his
or her testimony.

Corporate Parties

        In this case, one of the Defendants is a corporation. The mere fact that one of the parties
is a corporation does not mean that it is entitled to any lesser consideration by you. All litigants
are equal before the law, and corporate entities, big or small, are entitled to the same fair
consideration you would give any other individual party.

Discrepancies in Testimony

        You may have heard evidence of discrepancies in the testimony of certain witnesses.
Evidence of discrepancies may be a basis to disbelieve a witness' testimony. On the other hand,
discrepancies in a witness' testimony or between his testimony and that of others do not necessarily
mean that the witness' entire testimony should be discredited. People sometimes forget things, and
even a truthful witness may be nervous and contradict himself.

        It is also a fact that two people witnessing an event will see or hear it differently. Whether
a discrepancy pertains to a fact of importance or only to a trivial detail should be considered in
weighing the significance of the discrepancy; but a willful falsehood always is a matter of
importance and should be considered seriously. It is for you to decide, based on your total
impression of the witness, how to weigh any discrepancies in his or her testimony. You should,
as always, use common sense and your own good judgment.
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Impeachment by Prior Inconsistent Statements

        You may have heard evidence that, at some earlier time, a witness has said or done
something which counsel argues is inconsistent with the witness' trial testimony. Evidence of a
prior inconsistent statement was placed before you for the limited purpose of helping you decide
whether to believe the trial testimony of the witness who contradicted himself. If you find that the
witness made an earlier statement that conflicts with his trial testimony, you may consider that fact
in deciding how much of his or her trial testimony, if any, to believe. In making this determination,
you may consider whether the witness purposely made a false statement or whether it was an
innocent mistake; whether the inconsistency concerns an important fact, or whether it had to do
with a small detail; whether the witness had an explanation for the inconsistency, and whether that
explanation appealed to your common sense.

       It is exclusively your duty, based upon all the evidence and your own good judgment, to
determine whether the prior statement was inconsistent and, if so, how much, if any, weight to
give to the inconsistent statement in determining whether to believe all or part of the witness'
testimony.

EEOC

      You have heard evidence that there was a charge filed with the Equal Employment
Opportunity Commission, or the EEOC.

        In any matter where a plaintiff makes a claim for discrimination under the Title VII of the
Civil Rights Act of 1964, as the Plaintiff has done here, he must first present a charge to the EEOC.
The EEOC then issues a letter to the plaintiff called a “Right to Sue” letter. The fact that the EEOC
has issued a “Right to Sue” letter does not mean that the EEOC found Plaintiff’s claim to be
substantiated or unsubstantiated. Rather, the issuance of the “Right to Sue” letter is a prerequisite
to a plaintiff filing a lawsuit in court. This process is required by law and you should not draw any
inferences one way or the other from it.

 II.      SUBSTANTIVE LAW CHARGES

          I will now explain to you each of the elements that Plaintiff must prove for his causes of
action.

Elements of Title VII and New York State Human Rights Law Disparate Treatment
Discrimination Claims

        These laws make it unlawful for an employer to intentionally discriminate against an
employee in the terms and conditions of employment because of the employee's race or national
origin.

       Title VII provides, in pertinent part, that it shall be an unlawful employment practice for
an employer – “to discriminate against any individual with respect to his compensation, terms,
conditions, or privileges of employment because of such individual’s race, color, religion, sex, or
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national origin.” The New York State Human Rights Law provides, in pertinent part, that it shall
be unlawful for an employer "because of an individual's . . . race [or] national origin . . . to
discriminate against such individual in compensation or in terms, conditions or privileges of
employment."

        An unlawful employment practice is established when the complaining party demonstrates
that race, color, religion, sex or national origin was a “motivating factor” in any employment
practice, even though other factors may have also motivated the practice. A “motivating factor” is
a factor that played some part in a Defendant’s employment practice and/or decision.

        In order to prevail on his claims of disparate treatment race and/or national origin
discrimination under Title VII and the New York State Human Rights Law, Plaintiff must prove
by a preponderance of the evidence that:

       1. He was subject to an adverse employment action, such as being denied overtime
          opportunities, improperly disciplined, or any other adverse employment action that
          alters the terms and conditions of the Plaintiff’s employment for the worse; and

       2. Plaintiff’s race and/or national origin was a motivating factor in Defendants' decision
          to subject Plaintiff to the adverse employment action.

       You must find for the Defendants on this claim if either of these elements has not been
proved by a preponderance of the evidence.


Elements of Title VII and New York State Human Rights Law Hostile Work Environment
Race & National Origin Discrimination Claims

       In the instant case, Plaintiff asserts that he was subject to a race and national origin
discrimination in that he was forced to work in a hostile work environment.

        To establish a claim under this approach, the Plaintiff must prove, by a preponderance of
the evidence, each of the following elements:

       1. That Plaintiff was subjected to unwelcome harassment, ridicule, or other abusive
          conduct;

       2. That the abusive conduct was motivated, at least in part, by Plaintiff’s race or national
          origin; and

       3. That the abusive conduct was so severe or pervasive that both Plaintiff himself and a
          reasonable person in Plaintiff’s position would find his work environment so hostile or
          offensive that it would interfere with his work performance.

      Element 1 – The first element requires that Plaintiff establish that he was subjected to
unwelcome harassment, meaning conduct that was uninvited, and offensive or unwanted.
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        Element 2 – To satisfy the second element of his claim, Plaintiff must have established, by
a preponderance of the evidence, that he was harassed, in part, based upon his race and/or national
origin. It is important to note that the Plaintiff’s status in a protected class based upon his race
and/or national origin need not be the only factor that motivated the harassment. Further, Plaintiff
does not need to produce direct evidence that his race and/or national origin motivated Defendants’
conduct. Rather, you may reasonably consider facially neutral incidents in light of the totality of
the circumstances to find that Plaintiff’s race and/or national origin played a role in motivating
Defendants’ conduct.

       Element 3 – To establish the third element of his claim, Plaintiff must have established, by
a preponderance of the evidence, that the alleged harassment was objectively and subjectively
severe or pervasive, such that it affected a term, condition, or privilege of employment by creating
an intimidating or abusive work environment. In other words, Plaintiff must prove, by a
preponderance of the evidence, that (1) a reasonable person in his position would have perceived
the work environment to be hostile, abusive, or offensive; and (2) that Plaintiff himself perceived
the work environment to be hostile, abusive, or offensive. Whether the harassment affected a term
or condition of employment is determined from the totality of the circumstances.

        Thus, based on the totality of the circumstances, Plaintiff must have demonstrated, by a
preponderance of the evidence, that the workplace was permeated with intimidation, ridicule, or
insult that is sufficiently severe or pervasive to alter the conditions of his employment for the
worse. The more severe the conduct, the less pervasive it must be for you to find that it affected a
term or condition – a single incident, without more, if severe enough, can be sufficient to alter
Plaintiff’s working environment. Likewise, the more pervasive the conduct, the less severe it must
be for you to find that it affected a term or condition of employment. In evaluating the totality of
the circumstances, a non-exhaustive list of factors you may consider includes:

       1. the entire physical environment of the Plaintiff’s work area;
       2. the degree and type of harassment;
       3. the reasonable expectations of Plaintiff upon entering the environment;
       4. the nature of the unwelcome conduct;
       5. the frequency of the conduct;
       6. the severity of the conduct;
       7. the context in which the alleged harassment occurred;
       8. the effect on Plaintiff’s psychological well-being;
       9. how threatening the conduct was; and
       10. whether it unreasonably interfered with Plaintiff’s work performance.

        No single factor is required – you must consider the totality of the circumstances. It is
important to remember that the work environment does not need to be deemed “unendurable” or
“intolerable” in order to have altered the conditions of Plaintiff’s employment. Rather, the
standard is lower, and all you must find, by a preponderance of the evidence, is that “the
harassment is of such quality or quantity that a reasonable employee would find the conditions of
his employment altered for the worse.” Additionally, the conduct need not seriously affect an
employee’s psychological well-being or lead the employee to suffer injury in order to meet this
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standard. Rather, psychological harm is merely one relevant factor that can be taken into account
in determining whether the employee actually found the environment abusive.

Elements of Plaintiff’s Retaliation Claims under Title VII and the New York State Human
Rights Law

        Plaintiff claims that Defendants retaliated against him because he complained that his
employer was engaging in unlawful discrimination. Opposing discrimination in employment is a
protected activity. Accordingly, to make out his claim of retaliation, Plaintiff must prove, by a
preponderance of the evidence, each of the following elements:

       1. that Plaintiff complained of discrimination in his employment, specifically
          complaining of alleged unfair treatment by Mr. Ramphal;

       2. that Defendants were aware of Plaintiff’s complaint;

       3. that Plaintiff was then subjected to a material adverse action by Defendants, such as
          that Plaintiff received less overtime, or was improperly disciplined; and

       4. that Plaintiff’s complaint was the critical element in the Defendants’ decision to take
          the adverse action.

       With respect to the third element, an adverse action is “material,” in terms of a retaliation
claim, if it might have discouraged a reasonable worker from complaining about similar
discrimination. The adverse action itself, however, need not be related to Plaintiff’s employment.

        With respect to the fourth element, it must be the case that Defendants would not have
taken the adverse action except as a response to Plaintiff’s protected activity. The Defendants must
have taken the adverse action because of an intent to retaliate against Plaintiff for complaining
about employment discrimination.

Individual Defendant’s Liability

         Plaintiff is also bringing his discrimination and retaliation claims against an individual
Defendant, Mehandra Ramphal, pursuant to the New York State Human Rights Law. It is
important to note that an individual cannot be found liable under Title VII. Thus, you may not
find that Defendant Ramphal discriminated against Plaintiff or retaliated against Plaintiff under
Title VII. Unlike Title VII, however, an individual may be found liable for discrimination and/or
retaliation under the State Human Rights Law if he or she “actively participated” in the conduct
giving rise to the discrimination and/or retaliation claim, even where that individual lacks decision-
making authority. Thus, you are permitted to find that Defendant Ramphal discriminated against
Plaintiff or retaliated against Plaintiff under the State Human Rights Law.

      Here, if you find that, by a preponderance of the evidence, Plaintiff has established that: (i)
Defendants discriminated against Plaintiff because of his race and/or national origin and/or
Defendants retaliated against Plaintiff; and (ii) Defendant Ramphal actually participated in the
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discrimination and/or retaliation, you must find Defendant Ramphal liable for discrimination
and/or retaliation. On the other hand, if you find that Defendant Ramphal did not actually
participate in the Defendants’ discrimination and/or retaliation against Plaintiff, you should find
Defendant Ramphal not liable.

   III.     DAMAGES

Damages – Introduction

        I will now give you the instructions for awarding damages. First, the fact that I am
instructing you on how to award damages does not mean that I have any opinion on whether or
not any of the Defendants should be held liable in this case.

        If you return a verdict for the Plaintiff, then you must consider the issue of damages. If
you return a verdict for the Defendants, then you need not consider damages. Only if you decide
that Plaintiff is entitled to recover will you consider the measure of damages.

        If you find in favor of Plaintiff, then you must award Plaintiff such sum as you find by the
preponderance of the evidence will fairly and justly compensate Plaintiff for any damages you find
Plaintiff sustained as a direct result of the Defendants’ alleged discriminatory or retaliatory
conduct. Plaintiff’s claim for damages includes distinct types of damages and you must consider
them separately.

        If you return a verdict for the Plaintiff, then you must award him such sum of money as
you believe will fairly and justly compensate him for any injury you believe he actually sustained
as a direct consequence of the conduct of the responsible Defendant or Defendants.

Actual Damages

        First, you must determine the amount of any wages and fringe benefits Plaintiff would have
earned in his employment with Defendants if he had not changed positions and/or received the overtime
he claims he was entitled to, minus the amount of earnings and benefits that Plaintiff received during
that time. You may award damages for any out-of-pocket costs that Plaintiff experienced as a
consequence of Defendants' actions.

Compensatory Damages

        In addition to financial damages that Plaintiff claims he has suffered, he also claims to have
suffered non-pecuniary losses. Non-pecuniary losses are intangible injuries such as emotional
pain, suffering, mental anguish, loss of enjoyment of life, loss of health, and injury to character or
reputation. Emotional suffering may manifest itself through such things as sleeplessness, anxiety,
stress, depression, mental strain, humiliation, loss of self-esteem, excessive fatigue, nervous
breakdown, hair loss, ulcers, or headaches. This list of examples of emotional damages is not an
exhaustive list, and you may find that other types of symptoms or manifestations also constitute
emotional damages.
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        There is no exact standard for fixing the compensation to be awarded for these types of
damages. The cash value of such damages, should you find Plaintiff proved he suffered any, is
entirely up to you as a jury to decide.

        You should award compensatory damages only for those injuries which you find that
Plaintiff has proven by a preponderance of the evidence to have been the direct result of conduct
of the Defendant and/or Defendants whose conduct violated Plaintiff's rights.

Punitive Damages

       Plaintiff claims the acts of American Sugar Refining, Inc. and Mahendra Ramphal were
done with malice or reckless indifference to Plaintiff’s federally protected rights so as to entitle
the Plaintiff to an award of what are called “punitive” damages. Mr. Claude Lewis is seeking
punitive damages under Title VII. Punitive damages are not available under New York state law.

        In some cases punitive damages may be awarded for the purpose of punishing a defendant
for its wrongful conduct and to deter others from engaging in similar wrongful conduct. But it
should be presumed that Mr. Claude Lewis has been made whole by the actual and compensatory
damages you award, if any, so you should award punitive damages only if Defendants’ culpability
is so reprehensible as to warrant further sanctions to achieve punishment or deterrence.

        Furthermore, an employer may not be held liable for punitive damages because of
discriminatory acts on the part of its managerial employees where those acts by such employees
are contrary to the employer’s own good faith efforts to comply with the law by implementing
policies and programs designed to prevent such unlawful discrimination in the workplace.

       An award of punitive damages would be appropriate in this case only if you find for Mr.
Claude Lewis and then further find from a preponderance of the evidence:

      First: That a higher management official of American Sugar Refining, Inc. personally acted
with malice or reckless indifference to Plaintiff’s federally protected rights; and

        Second: That American Sugar Refining, Inc. itself had not acted in a good faith attempt to
comply with the law by adopting policies and procedures designed to prohibit such discrimination
in the workplace.

        If you decide to award punitive damages, the amount to be awarded is within your sound
discretion. The purpose of a punitive damage award is to punish a defendant or deter a defendant
and others from similar conduct in the future. Factors you may consider include, but are not limited
to, the nature of Defendants’ conduct (how reprehensible or blameworthy was it), the impact of
that conduct on Plaintiff, the ratio between the actual and compensatory damages and the punitive
damages, the relationship between Plaintiff and Defendants, the likelihood that Defendants or
others would repeat the conduct if the punitive award is not made, and any other circumstances
shown by the evidence, including any mitigating or extenuating circumstances, that bear on the
size of such an award. You may determine reprehensibility by considering whether the harm was
physical as opposed to economic; whether the conduct showed indifference to or disregard for the
health or safety of others; whether the target of the conduct has financial vulnerability; whether
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the conduct involved repeated actions or was an isolated instance; and whether the harm was the
result of intentional malice, trickery, deceit or mere accident.

 IV. FINAL GENERAL CHARGES

General Verdict Form

       I have prepared a general verdict form for you to use in recording your decision. On the
form, there are spaces to indicate your verdict on each of the Plaintiff’s claims against the
Defendants. Remember, each verdict must be unanimous and must reflect the conscientious
judgment of each juror. You should return a verdict on each claim.

Duties of the Foreperson

        Juror Number 1 is the foreperson. The foreperson will preside over your deliberations and
will speak for you here in court.

Return of Verdict

        After you have reached a verdict, your foreperson will fill in the form that has been given
to you, sign and date it and advise the marshal outside your door that you are ready to return to the
courtroom.

        I will stress that each of you should be in agreement with the verdict which is announced
in court. Once your verdict is announced by your foreperson in open court and officially recorded,
it cannot ordinarily be revoked.

Right to See Exhibits and Hear Testimony; Communications with the Court

     You are about to go into the jury room and begin your deliberations. If during those
deliberations you want to see any of the exhibits, you may ask that they be brought into the jury
room. If you want any of the testimony read back to you, you may also request that. Please
remember that it is not always easy to locate what you might want, so be as specific as you possibly
can in requesting exhibits or portions of the testimony. Your requests for exhibits or testimony–
in fact any communication with the court–should be made to me in writing, signed by the
foreperson, and given to one of the marshals.

       All communications with the Court should be made to me in writing, signed by your
foreperson, and given to the marshal. In any event, do not tell me or anyone else how the jury
stands on any issue until after a verdict is reached.

Duty to Deliberate/Unanimous Verdict

        You will now return to the jury room to deliberate. In order to prevail, the Plaintiff must
sustain his burden of proof as I have explained to you with respect to each element of the claim.
If you find that the Plaintiff has succeeded, you should return a verdict in his favor. If you find
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that the Plaintiff failed to sustain the burden on any element of the claim, you should return a
verdict against the Plaintiff.

       It is your duty as jurors to consult with one another and to deliberate with a view to reaching
an agreement. Each of you must decide the case for yourself, but you should do so only after a
consideration of the case with your fellow jurors, and you should not hesitate to change an opinion
when convinced that it is erroneous. Your verdict must be unanimous, but you are not bound to
surrender your honest convictions concerning the effect or weight of the evidence for the mere
purpose of returning a verdict or solely because of the opinion of other jurors. Discuss and weigh
your respective opinions dispassionately, without regard to sympathy, without regard to prejudice
or favor for either party, and adopt that conclusion which in your good conscience appears to be
in accordance with the truth.

       Again, each of you must make your own decision about the proper outcome of this case
based on your consideration of the evidence and your discussions with your fellow jurors. No
juror should surrender his or her conscientious beliefs solely for the purpose of returning a
unanimous verdict.
